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 4
     Attorney for Defendant,
 5   TAMMY BROWN
 6
                               IN THE UNITED STATES DISTRICT COURT
 7
                           FOR THE EASTERN DISTRICT OF CALIFORNIA
 8
 9
     UNITED STATES OF AMERICA,           )               No. 2:11-cr-00327 MCE
10                                       )
                 Plaintiff,              )               STIPULATION AND
11                                       )               ORDER CONTINUING
           v.                            )               SENTENCING DATE
12                                       )
     TAMMY BROWN,                        )
13                                       )
                 Defendant.              )
14   ____________________________________)
15          It is hereby stipulated by and between Timothy Warriner, counsel for defendant Tammy
16   Brown, and Kyle Reardon, Assistant United States Attorney, counsel for the government, that the
17   sentencing hearing now set for November 8, 2012, be vacated, and that judgment and sentencing
18   be set for December 13, 2012, at 9:00 a.m. Said continuance is requested in order to afford
19   defense counsel additional time to prepare for the sentencing hearing.
20
     Dated: November 1, 2012              /s/ Timothy E. Warriner, Attorney for Ms. Brown
21
     Dated: November 1, 2012              /s/ Kyle Reardon, Assistant United States Attorney for
22                                        The Government
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              Case 2:11-cr-00327-DAD Document 167 Filed 11/02/12 Page 2 of 2


 1                                               ORDER
 2          GOOD CAUSE APPEARING, and based on the foregoing stipulation of counsel, the
 3   November 8, 2012 sentencing date is vacated, and the matter is set for judgment and sentence to
 4   occur on December 13, 2012 at 9:00 a.m.
 5
      Dated: November 2, 2012
 6
                                                 ________________________________
 7                                               MORRISON C. ENGLAND, JR.
                                                 UNITED STATES DISTRICT JUDGE
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